     Case 2:05-cr-00162-FVS    ECF No. 276   filed 04/11/06   PageID.1032 Page 1 of 1




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 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,                )
 9                                              )     No. CR-05-162-FVS-3
                         Plaintiff,             )
10                                              )     ORDER GRANTING UNOPPOSED
       v.                                       )     MOTION TO MODIFY CONDITIONS
11                                              )     OF RELEASE
       RICHARD DARRELL JENNEN,                  )
12                                              )
                         Defendant.             )
13                                              )

14          BEFORE THE COURT is Defendant’s unopposed Motion to Modify

15    Conditions of Release (Ct. Rec. 269, 274).                For good cause shown,

16    Defendant’s    conditions      of   release    are      MODIFIED   to   the   extent

17    Defendant’s curfew shall be from 12:30 a.m. to 7:00 a.m.

18          IT IS SO ORDERED.

19          DATED April 11, 2006.

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21                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
